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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

                                                               )   Chapter 11
                                                               )
In re:                                                         )   Case No. 14-10979 (CSS)
                                                         1     )
ENERGY FUTURE HOLDINGS CORP., et al.,
                                                               )   (Jointly Administered)
                                                               )
                                   Debtors.
                                                               )   Hearing Date: January 13, 2015 at 9:30 a.m.
                                                               )   Objection Deadline: January 5, 2015 at 4:00 p.m.


             APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
              CREDITORS OF ENERGY FUTURE HOLDINGS CORPORATION,
           ENERGY FUTURE INTERMEDIATE HOLDING COMPANY, LLC, EFIH
            FINANCE, INC., AND EECI, INC. FOR AN ORDER (A) AUTHORIZING
         THE RETENTION AND EMPLOYMENT OF GUGGENHEIM SECURITIES,
               LLC AS INVESTMENT BANKER TO THE COMMITTEE NUNC
              PRO TUNC TO NOVEMBER 12, 2014 AND (B) WAIVING CERTAIN
         INFORMATION REQUIREMENTS PURSUANT TO LOCAL RULE 2016-2(h)

                 The official committee of unsecured creditors (the “EFH Committee”) of Energy

Future Holdings Corporation, Energy Future Intermediate Holding Company, LLC, EFIH

Finance, Inc., and EECI, Inc. (collectively, the “EFH Debtors”), hereby submits this application

(the “Application”) for the entry of an order substantially in the form attached hereto as

Exhibit A (the “Proposed Order”), (a) authorizing the EFH Committee to retain and employ

Guggenheim Securities, LLC (“Guggenheim Securities”) as its investment banker in connection

with the chapter 11 cases of Energy Future Holdings Corporation and its affiliated debtors and

debtors in possession (collectively, the “Debtors”), effective nunc pro tunc to November 12,

2014, pursuant to that certain engagement letter by and between Guggenheim Securities and the

EFH Committee, attached as Exhibit B (the “Engagement Letter”) and (b) granting to

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    The last four digits of Energy Future Holdings Corp.’s taxpayer identification number are 8810. The location of
    the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in
    these chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the
    last four digits of their federal tax identification numbers is not provided herein. A complete list of such
    information may be obtained on the website of the debtors’ claims and noticing agent at
    http://www.efhcaseinfo.com.



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Guggenheim Securities a limited waiver of the information requirements under Local Rule 2016-

2(d), pursuant to Local Rule 2016-2(h). In support of this Application, the EFH Committee

submits the Declaration of Ronen Bojmel, a senior managing director and co-head of

restructuring at Guggenheim Securities (the “Bojmel Declaration”), attached hereto as

Exhibit C and incorporated herein by reference. In further support of this Application, the EFH

Committee respectfully states as follows:

                                            Background

                 1.    On April 29, 2014 (the “Petition Date”), each of the Debtors filed

voluntary petitions for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C.

§§ 101 et seq. (the “Bankruptcy Code”).

                 2.    On October 27, 2014, the United States Trustee for the District of

Delaware (the “U.S. Trustee”) appointed the EFH Committee pursuant to section 1102 of the

Bankruptcy Code. On October 30, 2014, the EFH Committee selected Brown & Zhou, LLC to

serve as its Chair. On November 12, 2014, the EFH Committee unanimously selected

Guggenheim Securities as its investment banker.

                             Facts Specific to the Relief Requested

A.       Guggenheim’s Qualifications

                 3.    On November 12, 2014, the EFH Committee heard presentations by two

investment banking firms seeking to be engaged by the EFH Committee as its investment

banker, and reviewed the qualifications of each such firm. After discussing the relevant

experience, capabilities and other qualifications of each of the firms considered, the members of

the EFH Committee voted unanimously to engage Guggenheim Securities as its investment

banker in these chapter 11 cases.



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                  4.       As set forth in the Bojmel Declaration, Guggenheim Securities is an

investment banking firm that maintains offices at 330 Madison Avenue, New York, New York,

10017. Guggenheim Securities provides a broad range of advisory services to its clients,

including, without limitation, (i) strategic advisory services, (ii) capital raising and (iii) general

financial advice. The investment banking professionals employed by Guggenheim Securities

have been advising clients around the world for over twenty (20) years, including in large and

complex chapter 11 reorganizations. The EFH Committee believes that Guggenheim Securities

and the professionals that it employs are uniquely qualified to advise in the matters for which

Guggenheim Securities is proposed to be employed in these chapter 11 cases.

B.       Services to be Provided

                  5.       The EFH Committee anticipates that Guggenheim Securities will render

the following financial advisory services pursuant to the Engagement Letter, subject to

applicable orders of the Court, and as requested by the EFH Committee:2

                          a.   To the extent that Guggenheim Securities deems necessary,
                               appropriate and feasible, review and analyze the Debtors’ business,
                               operations, financial condition and prospects;

                          b.   Review and analyze the Debtors’ business plans and financial
                               projections prepared by the Debtors’ senior management, if available;

                          c.   Evaluate the Debtors’ liquidity and debt capacity;

                          d.   Advise the EFH Committee regarding the current state of the
                               restructuring;

                          e.   Assist and advise the EFH Committee in examining and analyzing any
                               potential or proposed strategy for a Transaction (as defined below);

                          f.   Provide such financial analysis as the EFH Committee may reasonably
                               request in connection with these chapter 11 cases and any chapter 11

2
     This Application is intended to provide a summary of the salient terms of the Engagement Letter. To the extent
     that any summary of such terms in this Application is inconsistent with the actual terms of the Engagement
     Letter, the actual terms of the Engagement Letter shall control.


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                           plan proposed in connection therewith;

                      g.   Submit affidavits, prepare expert witness testimony, appear in court
                           and/or offer testimony concerning any of the subjects encompassed by
                           the other investment banking services in connection with these chapter
                           11 cases, as reasonably requested by the EFH Committee;

                      h.   Evaluate potential alternatives in connection with a possible
                           Transaction;

                      i.   Represent the EFH Committee in negotiations with the Debtors and
                           third parties with respect to the foregoing;

                      j.   Attend meetings with the Debtors and third parties and advise the EFH
                           Committee in connection therewith; and

                      k.   Provide such other investment banking services as may from time to
                           time be agreed upon by Guggenheim Securities and the EFH
                           Committee in writing during the term of the Engagement Letter.

                 6.    Guggenheim Securities has advised the EFH Committee that, as set forth

in the Bojmel Declaration and based on the conflicts procedures described therein that

Guggenheim Securities (a) does not have any connections with the Debtors or their estates and

creditors, or any other party in interest, except as disclosed in the Bojmel Declaration, (b) does

not represent any entity having an interest adverse to the EFH Committee in connection with

these chapter 11 cases and does not hold any interest adverse to the Debtors’ estates with respect

to the matters for which it is to be employed and (c) is a “disinterested person” as defined in

section 101(14) of the Bankruptcy Code.

C.       Professional Compensation

                 7.    Guggenheim Securities intends to apply for compensation for professional

services rendered and reimbursement of expenses incurred in connection with these chapter 11

cases, subject to the approval of the Court and in compliance with applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, any applicable fee guidelines

established by the Office of the United States Trustee (the “U.S. Trustee Guidelines”) or by the


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fee committee established in these chapter 11 cases (the “Fee Committee”), and any otherwise

applicable guidelines, orders or procedures of the Court. As set forth in the Proposed Order and

subject to any other applicable order of the Court, fees and expenses incurred under the

Engagement Letter shall be paid to Guggenheim Securities by the EFH Debtors.

                   8.       The EFH Committee seeks the Court’s approval of the following

consideration for Guggenheim Securities’ services (the “Fee Structure”) pursuant to the

Engagement Letter and subject to the Proposed Order:

                            a. Monthly Fee:

                                         i.     A non-refundable cash fee of $250,000 per month (each,
                                                the “Monthly Fee” and collectively, the “Monthly Fees”).
                                                The first payment of the Monthly Fee will be made by the
                                                EFH Debtors upon approval of the Engagement Letter by
                                                the Court and will be made in respect of the period from
                                                November 12, 2014 (prorated for the month of November)
                                                through the month in which such payment is made
                                                (including the full Monthly Fee for such month).
                                                Thereafter, payment will be due and paid by the EFH
                                                Debtors in advance on the first day of each month during
                                                the term of the Engagement Letter.

                                        ii.     50% of the aggregate Monthly Fees in excess of
                                                $1,500,000 will be credited (but only once), to the extent
                                                actually paid, against the Transaction Fee upon
                                                consummation of a Transaction.

                            b. Transaction Fee:

                                         i.     A cash fee in an amount equal to $9,000,000 (a
                                                “Transaction Fee”), payable if: (A) at any time during the
                                                term of the Engagement Letter or within the 12 full months
                                                following the expiration or termination of the Engagement
                                                Letter (including the term of the Engagement Letter, the
                                                “Fee Period”), any Transaction3 is consummated or (B)

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    The term “Transaction” means and includes any restructuring, reorganization, rescheduling, recapitalization or
    repayment of all or any material portion of the Debtors’ liabilities (including, without limitation, unfunded
    pension and retiree medical liabilities, lease obligations, trade credit facilities, contract or tort obligations, joint
    venture interests and/or partnership interests), or any sale of all or a material portion of the Debtors or their
    assets, however such result is achieved, including without limitation through any one or more of the following
    means, whether in one or a series of transactions: (i) a chapter 11 plan confirmed in connection with these

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                                             any Transaction is consummated at any time (including
                                             following the expiration of the Fee Period) resulting from
                                             negotiations occurring during the Fee Period.

                                      ii.    No Transaction Fee shall be payable under the Engagement
                                             Letter with respect to any Transaction if the principal
                                             definitive agreement relating to such Transaction is signed
                                             following a termination of the Engagement Letter by
                                             Guggenheim Securities without cause.

                 9.        As set forth in the Proposed Order, in addition to any fees that may be paid

to Guggenheim Securities, whether or not any Transaction occurs, Guggenheim Securities will

be reimbursed for all reasonable documented out-of-pocket expenses (including (i) the

reasonable documented fees and expenses of its outside counsel, (ii) expenses invoiced to

Guggenheim Securities by Mr. Rob Venerus in connection with his retention by Guggenheim

Securities as described in the Bojmel Declaration and (iii) the reasonable, documented fees and

expenses of any other independent experts retained by Guggenheim Securities with the consent

of the EFH Committee (which consent shall not be unreasonably withheld) actually and

reasonably incurred by Guggenheim Securities and its designated affiliates in connection with

Guggenheim Securities’ engagement pursuant to the Engagement Letter.

                 10.       Guggenheim Securities will maintain records in support of any expenses

incurred in connection with its services in these chapter 11 cases. As Guggenheim Securities’

compensation will include only the Monthly Fee and the Transaction Fee (if any), the EFH

Committee requests, pursuant to Local Rule 2016-2(h), that Guggenheim Securities not be

required to file time records in accordance with Local Rule 2016-2(d), and that the applicable

requirements of Bankruptcy Rule 2016(a), the U.S. Trustee Guidelines, applicable guidelines of

    chapter 11 cases and/or (ii) an exchange offer, a consent solicitation, a solicitation of waivers, acceptances or
    authorizations, covenant relief, the rescheduling of debt maturities, a change in interest rates, the settlement or
    forgiveness of debt, the conversion of debt into equity, other amendments to the terms, conditions or covenants
    of the Debtors’ debt instruments, the issuance of new securities, the raising of new debt or equity capital and/or
    the sale or other transfer of equity, assets or other interests of the Debtors.


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the Fee Committee, and any otherwise applicable guidelines, orders or procedures of the Court

be waived to the extent necessary to grant such relief. Notwithstanding that Guggenheim

Securities does not charge for its services on an hourly basis, Guggenheim Securities proposes to

maintain records (in summary format) of its services rendered for the EFH Committee in half-

hour increments.

D.       Indemnification Provisions

                 11.   The indemnification provisions annexed to the Engagement Letter (the

(“Indemnification Provisions”) provide that the Debtors shall, to the fullest extent permitted by

law, indemnify and hold harmless each of Guggenheim Securities and its affiliates, each of its

and their controlling persons (within the meaning of the U.S. federal securities laws),

stockholders, members, directors, officers, managers, employees, consultants, legal counsel and

agents and each of its and their respective heirs, successors and assigns (each, an “Indemnified

Person” and, collectively, the “Indemnified Persons”), against any and all Liabilities (as

defined in the Engagement Letter), and fully reimburse such Indemnified Persons for any and all

Expenses (as defined in the Engagement Letter), as and when incurred, in connection with (a)

any advice or services requested of, or rendered or to be rendered by, Guggenheim Securities

pursuant to the Engagement Letter, (b) any actions or inactions by Guggenheim Securities with

respect to the Engagement Letter, (c) any Transaction or (d) the determination and enforcement

by Guggenheim Securities of its rights pursuant to the Engagement Letter, in each case subject to

certain exceptions. If a claim for indemnification under the Indemnification Provisions is made

but it is found in a final judgment by a court of competent jurisdiction that such indemnification

is unavailable, even though the Indemnification Provisions provide for such indemnification,

then the Debtors, on the one hand, and Guggenheim Securities, on the other hand, will contribute



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to the Liabilities and Expenses of the Indemnified Persons as set forth in the Indemnification

Provisions.

                 12.   As set forth in the Proposed Order, any indemnification, reimbursement

and contribution under the Indemnification Provisions shall be provided to Guggenheim

Securities by the EFH Debtors. Furthermore, in connection with this Application, Guggenheim

Securities has agreed to certain limitations and modifications to the Indemnification Provisions,

which are reflected in the Proposed Order and are as follows:

                       a. the EFH Debtors shall have no obligation to indemnify any
                          Indemnified Person or provide contribution or reimbursement to any
                          Indemnified Person (i) for any claim or expense that is judicially
                          determined (the determination having become final) to have arisen
                          from such Indemnified Person’s bad faith, willful misconduct or gross
                          negligence, (ii) for a contractual dispute in which the EFH Debtors
                          allege the breach of Guggenheim Securities’ contractual obligations if
                          the Court determines that indemnification, contribution, or
                          reimbursement would not be permissible pursuant to United Artists
                          Theatre Co. v. Walton (In re United Artists Theatre Co.), 315 F.3d 217
                          (3d Cir. 2003), or (iii) for any claim or expense that is settled prior to a
                          judicial determination as to the exclusions set forth in clauses (i) and
                          (ii) above, but determined by the Court, after notice and a hearing
                          pursuant to subparagraph (c) below, to be a claim or expense for which
                          an Indemnified Person should not receive indemnity, contribution or
                          reimbursement under the terms of the Engagement Letter;

                       b. if, during the pendency of these chapter 11 cases, the indemnification
                          provided in the Indemnification Provisions is held unenforceable with
                          respect to any Liability of Expense by reason of the exclusions set
                          forth in subparagraph (a) above and any Indemnified Person makes a
                          claim for the payment of any amounts by the EFH Debtors on account
                          of the EFH Debtors’ contribution obligations, then the final sentence
                          of the fourth paragraph of the Indemnification Provisions (regarding
                          amounts to be contributed by an Indemnified Person) shall not apply;
                          and

                       c. if, before the earlier of (i) the entry of an order confirming a chapter 11
                          plan in these chapter 11 cases (that order having become a final order
                          no longer subject to appeal), and (ii) the entry of an order closing these
                          chapter 11 cases, any Indemnified Person believes that it is entitled to
                          the payment of any amounts by the EFH Debtors on account of the
                          EFH Debtors’ indemnification, contribution, and/or reimbursement

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                           obligations under the Engagement Letter, as modified by the Proposed
                           Order, including without limitation the advancement of defense costs,
                           such Indemnified Person must file an application therefor in the Court,
                           and the EFH Debtors may not pay any such amounts to such
                           Indemnified Person before the entry of an order by the Court
                           approving such payment. This subparagraph (c) is intended only to
                           specify the period of time during which the Court shall have
                           jurisdiction over any request for compensation by any Indemnified
                           Person for indemnification, contribution or reimbursement and is not a
                           provision limiting the duration of the EFH Debtors’ estates’ obligation
                           to indemnify an Indemnified Person.

                 13.   The EFH Committee believes that the Indemnification Provisions are

customary and reasonable for Guggenheim Securities and comparable firms providing

investment banking services, and that the qualifications and limitations provided in the Proposed

Order are also customary in this district and others for cases similar to these chapter 11 cases.

E.       Guggenheim’s Disinterestedness

                 14.   To the best of the EFH Committee’s knowledge, and as detailed herein

and in the Bojmel Declaration: (a) Guggenheim Securities and Mr. Rob Venerus are

“disinterested persons” within the meaning of section 101(14) of the Bankruptcy Code, (b)

Guggenheim Securities and Mr. Venerus do not represent any person or entity having an interest

adverse to the EFH Committee in connection with these chapter 11 cases, (c) Guggenheim

Securities and Mr. Venerus do not hold or represent an interest adverse to the interests of the

Debtors’ estates with respect to matters on which Guggenheim Securities and Mr. Venerus are

employed and (d) Guggenheim Securities and Mr. Venerus have no connection to the Debtors,

their creditors or any other party in interest except as disclosed in the Bojmel Declaration.

                 15.   Guggenheim Securities will promptly review its files against any updated

list of Parties-in-Interest (as defined in the Bojmel Declaration) received from the Debtors from

time to time during the pendency of these chapter 11 cases pursuant to the procedures described

in the Bojmel Declaration. To the extent any new relevant facts or relationships are discovered

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or arise in the course of such review, Guggenheim Securities will promptly make additional

disclosure to the Court as required by Bankruptcy Rule 2014(a).

                                            Jurisdiction

                  16.   This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §

1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). This statutory predicates for the relief requested herein are

sections 328(a) and 1103(a) of the Bankruptcy Code, rule 2014(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and rules 2014-1 and 2016-2(h) of the Local

Rules for the United States Bankruptcy Court for the District of Delaware (the “Local Rules”).

                                         Relief Requested

                  17.   By this Application, the EFH Committee requests entry of the Proposed

Order (a) authorizing the EFH Committee to retain and employ Guggenheim Securities as its

investment banker in connection with these chapter 11 cases effective nunc pro tunc to

November 12, 2014, pursuant to sections 328(a) and 1103(a) of the Bankruptcy Code,

Bankruptcy Rule 2014(a) and Local Rule 2014-1 and in accordance with the terms, and subject

to the conditions, set forth in the Engagement Letter and (b) granting a limited waiver of the

information requirements under Local Rule 2016-2(d), pursuant to Local Rule 2016-2(h).

                                          Basis for Relief

A.       The EFH Committee’s Retention and Employment of Guggenheim Securities Is
         Reasonable and Appropriate Pursuant to Section 328(a) of the Bankruptcy Code
         and Bankruptcy Rule 2014.

                  18.   The EFH Committee seeks to retain and employ Guggenheim Securities as

its investment banker pursuant to section 328(a) of the Bankruptcy Code, which provides that,

subject to Court approval, a committee appointed pursuant to section 1102 of the Bankruptcy

Code:

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                  [M]ay employ or authorize the employment of a professional
                  person under section . . . 1103 of [the Bankruptcy Code] . . . on any
                  reasonable terms and conditions of employment.

11 U.S.C. § 328(a).

                  19.    Bankruptcy Rule 2014(a) requires that an application for an order

approving the employment of professionals pursuant to section 1103 of the Bankruptcy Code

include:

                  [S]pecific facts showing the necessity for the employment, the
                  name of the person to be employed, the reasons for the selection,
                  the professional services to be rendered, any proposed arrangement
                  for compensation, and, to the best of the applicant’s knowledge, all
                  of the person’s connections with the debtor, creditors, any other
                  party in interest, their respective attorneys and accountants, the
                  United States trustee, or any person employed in the office of the
                  United States trustee.

Fed. R. Bankr. P. 2014(a).

                  20.    Guggenheim Securities’ restructuring expertise, capital markets

knowledge, financing skills and mergers and acquisitions capabilities were important factors in

the EFH Committee’s decision to engage Guggenheim Securities in connection with these

chapter 11 cases, and to approve the Fee Structure and the other terms of Guggenheim

Securities’ proposed engagement as described herein.

                  21.    The EFH Committee believes the Fee Structure and the other proposed

terms of the Engagement Letter are consistent with and typical of employment terms entered into

by firms comparable to Guggenheim Securities in connection with similar engagements. The

EFH Committee believes that the benefit of Guggenheim Securities’ services cannot be

measured by reference to the number of hours expended by Guggenheim Securities’

professionals in the performance of Guggenheim Securities’ services under the Engagement

Letter. The EFH Committee and Guggenheim Securities have agreed upon the Fee Structure in


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anticipation that a substantial commitment of time and effort will be required of Guggenheim

Securities and its professionals in connection with these chapter 11 cases and in light of the fact

that: (a) such commitment may foreclose other opportunities for Guggenheim Securities; and (b)

the actual time and commitment required of Guggenheim Securities and its professionals to

perform its services under the Engagement Letter may vary substantially from week to week and

month to month, creating “peak load” issues for Guggenheim Securities.

                  22.   In light of the foregoing and given the numerous issues that Guggenheim

Securities may be required to address in the course of its engagement in these chapter 11 cases,

Guggenheim Securities’ commitment to the variable level of time and effort necessary to address

all such issues as they arise and the typical prices for Guggenheim Securities’ services for

engagements of this nature both in an out-of-court and chapter 11 context, the EFH Committee

believes that the Fee Structure and the other terms of the Engagement Letter are reasonable.

Because the EFH Committee seeks to retain Guggenheim Securities under section 328(a) of the

Bankruptcy Code, the EFH Committee believes that Guggenheim Securities’ compensation

should not be subject to any additional standard of review under section 330 of the Bankruptcy

Code and does not constitute a “bonus” or fee enhancement under applicable law.

                  23.   Courts in this district have frequently approved the engagement of

financial advisors or investment bankers in chapter 11 cases on terms similar to the proposed

terms of Guggenheim Securities’ engagement as requested herein. See, e.g., In re Energy Future

Holdings Corp., et al., 14-10979 (CSS) (Bankr. D. Del. Oct. 20, 2014), Docket No. 2507 (order

authorizing retention of financial advisor on terms similar to the terms the Engagement Letter);

In re QCE Finance LLC, et. al., 14-10543 (PJW) (Bankr. D. Del. April 22, 2014), Docket No.

237 (same); In re Exide Technologies, 13-11482 (KJC) (Bankr. D. Del. Aug. 8, 2013), Docket



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No. 487 (same). Therefore, based on the facts and for the reasons stated herein and in the

Bojmel Declaration, the EFH Committee submits that the retention and employment of

Guggenheim Securities as investment banker to the EFH Committee is necessary and

appropriate; and that the terms of the Engagement Letter satisfy section 328(a) of the Bankruptcy

Code and should be approved by the Court, as modified by the Proposed Order.

B.       Waiver of the Time-Keeping Requirements of Local Rule 2016-2(d) Is Appropriate.

                  24.   As noted above, pursuant to Local Rule 2016-2(h), the EFH Committee

requests that the requirements of Local Rule 2016-2(d), requiring, among other things, that any

motion of a professional person for approval of compensation or reimbursement of expenses

include a description of such professional’s activities, recorded in tenths of an hour, be waived as

to Guggenheim Securities such that Guggenheim Securities will be required only to maintain

time records of its services rendered for the EFH Committee in half-hour increments.

                  25.   Investment bankers such as Guggenheim Securities do not typically

charge for their services on an hourly basis. Instead, they customarily charge a monthly advisory

fee plus an additional fee that is contingent upon the occurrence of a specified type of

transaction. Consistent with this market practice, Guggenheim Securities’ compensation

pursuant to the Engagement Letter will consist of the Monthly Fees and, if applicable, the

Transaction Fee, as described above. Guggenheim Securities will not be compensated based on

the number of hours expended by its personnel in the course of its engagement in connection

with these chapter 11 cases.

                  26.   Accordingly, the EFH Committee requests that Guggenheim Securities be

permitted to maintain appropriate records of its services rendered for the EFH Committee in half-

hour increments, notwithstanding the requirements of Local Rule 2016-2(d), and that the

requirements of Bankruptcy Rule 2016(a), the U.S. Trustee Guidelines, and any otherwise

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applicable orders or procedures of the Court also be waived to the extent necessary to grant such

relief. The EFH Committee believes that this limited waiver of Local Rule 2016-2(d) will

conserve time and resources for Guggenheim Securities’ personnel and enable Guggenheim to

more efficiently advise the EFH Committee, while the submission of records in half-hour

increments will ensure appropriate transparency regarding Guggenheim Securities’ activities

under the proposed engagement.

                  27.   Courts in this district have previously granted relief similar to that

requested herein, and waived the requirements of Local Rule 2016-2(d) to allow investment

banking professionals to submit time records in half-hour increments. See, e.g., In re Energy

Future Holdings Corp., et al., 14-10979 (CSS) (Bankr. D. Del. Oct. 20, 2014), Docket No. 2507

(order waiving time-keeping requirements with respect to investment banking firm pursuant to

2016-2(h)); In re Exide Technologies, 13-11482 (KJC) (Bankr. D. Del. Aug. 8, 2013), Docket

No. 487 (same); In re QCE Finance LLC, et. al., 14-10543 (PJW) (Bankr. D. Del. April 22,

2014), Docket No. 237 (same).

C.       Approval of the Indemnification Provisions, As Limited and Modified by the
         Proposed Order, Is Appropriate.

                  28.   The EFH Committee believes that the Indemnification Provisions are

customary and reasonable for investment banking and financial advisory engagements, both out

of court and in chapter 11 proceedings. See United Artists Theatre Co. v. Walton (In re United

Artists Theatre Co.), 315 F.3d 217, 234 (3d Cir. 2003) (finding that indemnification agreement

between debtor and financial advisor was reasonable under section 328 of the Bankruptcy Code).

Such terms allow investment banks to offer advisory services to chapter 11 parties without

exposure to open-ended liability. Likewise, the proposed limitations on the Indemnification




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Provisions, as set forth in the Proposed Order, are customary for Guggenheim Securities and

other investment bankers and financial advisors engaged in similar chapter 11 cases.

                  29.   Courts in this district have previously approved indemnification of

investment banking professionals in recent chapter 11 cases on terms similar to the

Indemnification Provisions, subject to limitations similar to those set forth in the Proposed

Order. See, e.g., In re Energy Future Holdings Corp., et al., 14-10979 (CSS) (Bankr. D. Del.

Oct. 20, 2014), Docket No. 2507 (approving indemnification of investment banker on terms

similar to the Indemnification Provisions, subject to limitations similar to those set forth in the

Proposed Order); In re Exide Technologies, 13-11482 (KJC) (Bankr. D. Del. Aug. 8, 2013),

Docket No. 487 (same); In re Overseas Shipholding Group, Inc., et. al., 12-20000 (PJW) (Bankr.

D. Del. Dec. 27, 2012), Docket No. 238 (same). The EFH Committee submits that the present

circumstances warrant similar relief in these chapter 11 cases and that the Indemnification

Provisions are reasonable and should be approved by the Court, subject to the limitations set

forth in the Proposed Order.

                                               Notice

                  30.   Notice of this Application has been provided to: (a) the U.S. Trustee;

(b) counsel for the Debtors including (i) Kirkland & Ellis LLP and (ii) Richards Layton &

Finger, P.A.; (c) counsel to the Official Committee of Unsecured Creditors of Energy Future

Competitive Holdings Company LLC, Texas Competitive Electric Holdings Company LLC and

its direct and indirect subsidiaries, and EFH Corporate Services Company, including (i) Morrison

& Foerster LLP and (ii) Polsinelli PC; and (d) all parties requesting notice in these chapter 11

cases pursuant to Bankruptcy Rule 2002. The EFH Committee respectfully submits that further

notice of this Application is neither required nor necessary.



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                                         No Prior Request

                  31.   No prior motion for the relief requested herein has been made to this or

any other Court.




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